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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF CONNECTICUT


HUNTINGTON TECHNOLOGY                     Case No. 3:18-cv-01708-VLB
FINANCE, INC. f/k/a MACQUARIE
EQUIPMENT FINANCE, INC.                   HONORABLE VANESSA L. BRYANT
f/k/a MACQUARIE EQUIPMENT
FINANCE, LLC

                Plaintiff,

        vs.

GARETT ALAN NEFF a/k/a
GARY NEFF, JOHN MARK SCHMID,
and DAVID KARL SCHMID

                Defendants.


    BRIEF IN SUPPORT OF PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

        Plaintiff Huntington Technology Finance, Inc. f/k/a Macquarie Equipment

Finance, Inc. f/k/a Macquarie Equipment Finance, LLC (“Huntington”), by its

attorneys, files the within Brief in Support of its Motion for Summary Judgment

(the “Motion”) as follows:

   I.         FACTUAL BACKGROUND

        A complete factual overview is set forth in the accompanying Statement of

Undisputed Material Facts, which is incorporated herein by reference. In short,

Huntington and Garage Media NY, LLC (“GMNY”) are parties to that certain Lease

No. 001 dated October 26, 2010 (as amended, the “Lease Agreement”), pursuant

to which GMNY leases from Huntington a 6,010 square foot Mediamesh digital

signage installation located at the Port Authority Bus Terminal in New York, New
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York (the “Sign”). Lease Agreement (Exhibit B) at p.1.1 By the terms of that

certain Guaranty dated October 26, 2010 (the “Guaranty”), Defendants Garett Alan

Neff a/k/a Gary Neff, John Mark Schmid, and David Karl Schmid (collectively the

“Guarantors”) absolutely and unconditionally guaranteed the full and prompt

payment when due of all obligations of GMNY under the Lease Agreement.

Guaranty (Exhibit C) at § 2.

      GMNY is in default under the terms and conditions of the Lease Agreement

for failure to make payment when due since March of 2015. Affidavit of John

Zimmeth (“Zimmeth Affidavit”) (Exhibit A) at ¶ 10. As of July 17, 2019, the amount

due to Huntington under the Lease Agreement is $8,962,074.79, exclusive of

costs and attorneys’ fees (the “Amount Due”). Id. at ¶ 12. Under the Guaranty,

Guarantors are responsible for payment of the Amount Due in full, without setoff,

counterclaim, or defense. Guaranty (Exhibit C) at §§ 2, 3. Guarantors are also

responsible for reimbursement to Huntington in connection with that certain

December 11, 2015 Letter of Credit (the “Letter of Credit”) for the benefit of

Outfront Media Group, LLC (“Outfront”). Letter of Credit (Exhibit I) at p.1. Despite

demand, Guarantors have failed to make payment. Huntington filed its Complaint

on or about October 15, 2018 (the “Complaint”). Discovery has closed, and there

are no genuine issues of material fact. As a result, Huntington seeks summary

judgment in its favor pursuant to Fed. R. Civ. P. 56.




1 Each of the exhibits cited to herein are included in the Appendix to the Motion
filed contemporaneously herewith.

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   II.      STANDARD OF REVIEW

          To prevail on a motion for summary judgment, the movant must show “that

there is no genuine dispute as to any material fact and the movant is entitled to

judgment as a matter of law.” Fed. R. Civ. P. 56(a). The movant bears the burden

of demonstrating the absence of a question of material fact, and in making this

determination, the Court must view all facts “in the light most favorable” to the

non-moving party. Holcomb v. Iona Coll., 521 F.3d 130, 132 (2d Cir. 2008); see

also Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). To survive a summary

judgment motion, the opposing party “may not rely on mere speculation or

conjecture as to the true nature of the facts”. Hicks v. Baines, 593 F.3d 159, 166

(2d Cir. 2010) (citations omitted). Instead, the nonmoving party must establish a

genuine issue of fact by citing to specific parts of the record. Fed. R. Civ. P.

56(c)(1). Only disputes over “facts that might affect the outcome of the suit under

the governing law” will preclude a grant of summary judgment. Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

   III.     ARGUMENT

          It is undisputed that GMNY has failed to make payment to Huntington when

due, and that the Guarantors guaranteed the obligations of GMNY. Accordingly,

Guarantors are responsible for payment to Huntington of the Amount Due, plus

those sums payable on account of the Letter of Credit. By its terms, the Guaranty

is unconditional, and Guarantors waived all defenses to enforcement. Even if that

waiver did not exist, Guarantors’ specious claims that Huntington interfered with

GMNY’s use and enjoyment of the sign, or that Huntington otherwise failed to act



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in good faith, is not supported by any evidence. Consequently, and for the

reasons more fully set forth below, the Court should grant summary judgment in

Huntington’s favor.

        A. Guarantors are required to pay the Amount Due to Huntington, together
           with all amounts due in connection with the Letter of Credit.

        The Guaranty, like any written agreement, “is subject to the ordinary

principles    of   contract   construction.”   Cooperatieve   Centrale   Raiffeisen-

Boerenleenbank, B.A. v. Navarro, 25 N.Y.3d 485, 491 (N.Y. 2015).2 As such, the

Guaranty must be enforced according to the plain meaning of its terms. Id. For

Huntington to establish a prima facie case that it is entitled to recover on the

Guaranty, it must show: “(1) that it is owed a debt from a third party; (2) that the

defendant[s] made a guarantee of payment of the debt; and (3) that the debt has

not been paid by either the third party or the defendant[s].” Chem. Bank v.

Haseotes, 13 F.3d 569, 573 (2d Cir. 1994); see also HSH Nordbank AG New York

Branch v. St., 421 F. App’x 70, 72 (2d Cir. 2011) (holding that, where a creditor

seeks summary judgment upon a written guaranty, “the creditor need prove no

more than an absolute and unconditional guaranty, the underlying debt, and the

guarantor’s failure to perform under the guarantee”) (citations omitted). As

described herein, Huntington satisfies each of these required elements.

               1. GMNY has failed to make payment when due to Huntington.

        First, there is no dispute that GMNY has failed to make payment under the

Lease Agreement when due. The Lease Agreement requires GMNY to remit rental

payments to Huntington in the amount of $135,500.00 per month on or before the


2   The Guaranty is governed by New York law. Guaranty (Exhibit D) at § 9.

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first day of each month. Amendment No. 4 to Lease Agreement (Exhibit F) at § II;

Zimmeth Affidavit (Exhibit A) at ¶ 13. In addition, GMNY is responsible for the

payment of all taxes associated with the Sign in the amount of $12,025.63 per

month based on a tax rate of 8.875-percent (8.875%). Lease Agreement (Exhibit B)

at § 7; Zimmeth Affidavit (Exhibit A) at ¶ 14. The Guarantors admit that payments

required under the Lease Agreement were not made to Huntington. Answer (Doc.

24) at ¶ 13; Deposition Transcript of Garrett Alan Neff (“Neff Tr.”) (Exhibit K) at

88:9-17. Deposition Transcript of John Mark Schmid (“J. Schmid Tr.”) (Exhibit L)

at 69:22-25, 85:1-5; Deposition Transcript of David Karl Schmid (“D. Schmid Tr.”)

(Exhibit M) at 41:21-23.

      The failure to make payment of any amount when due constitutes an event

of default under the Lease Agreement. Lease Agreement (Exhibit B) at § 17. The

Zimmeth Affidavit sets forth each component of the Amount Due to Huntington as

of July 17, 2019, which includes: (1) past due rent and taxes of $6,568,663.35; (2)

interest on past due rent and taxes in the amount of $2,083,161.24; (3) a Lessor’s

Return of $283,075.00; and (4) interest on the Lessor’s Return equal to $27,175.20.

Zimmeth Affidavit (Exhibit A) at ¶¶ 16-19. In addition, on or about December 11,

2015, Huntington issued the Letter of Credit for the benefit of Outfront. Letter of

Credit (Exhibit I) at p.1. As of December 2018, GMNY failed to make payment

when due to Outfront under the terms of a Display Agreement by and between

those parties. Outfront letter correspondence (Exhibit J) at p.1; Zimmeth Affidavit

(Exhibit A) at ¶ 23. As a result of GMNY’s default, Outfront drew on the entire

principal balance of the Letter of Credit in the amount of $600,000.00 in or about



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December 2018. Id. Thus, an additional $600,000.00 is now due from GMNY to

Huntington, together with interest in the amount of $39,400.00. Lease Agreement

(Exhibit B) at § 25; Zimmeth Affidavit (Exhibit A) at § 25.

             2. Guarantors unconditionally guaranteed the full and prompt
                payment of all amounts due and owing by GMNY to Huntington.

      In pertinent part, Section 2 of the Guaranty provides as follows:

      As Guarantor will derive commercial benefit from the provisions of
      this Guaranty, and in order to induce Macquarie to enter into the
      Agreements, and for other good and valuable consideration, the
      receipt and sufficiency of which are hereby acknowledged,
      Guarantor unconditionally guarantees to [Huntington] the full and
      prompt payment, observance and performance when due of all
      obligations of [GMNY] arising under the Agreements. This Guaranty
      is absolute, continuing, unlimited, and independent, and shall not be
      affected, diminished or released for any reason whatsoever . . .

Guaranty (Exhibit C) at § 2 (emphasis added). The guaranteed “Agreements” are:

      “any and all of the various agreements, instruments, documents, or
      other arrangements . . . by [GMNY] in favor of [Huntington] or which
      [Huntington] may be entitled to the benefit of . . . including any
      personal property leases, and also including any security
      agreements, collateral agreements, or other agreements entered into
      in connection with any of the foregoing . . in connection with a loan,
      lease, or other financial accommodation made by [Huntington] to or
      for [GMNY], or in connection with any other transition to which
      [GMNY] is a party or otherwise bound . . .

Id. at § 1 (emphasis added). The Lease Agreement is a guaranteed “Agreement”

because it is a personal property lease executed in favor of Huntington pursuant

to which Huntington is entitled to the benefit of payment. Similarly, the Letter of

Credit falls within the ambit of the Guaranty because it was issued in connection

with the Lease Agreement and is otherwise a financial accommodation made by

Huntington for the benefit of GMNY. The Guarantors admit that they executed the

Guaranty and that a true and correct copy thereof was appended to the


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Complaint. Neff Tr. (Exhibit K) at 37:3-21; J. Schmid Tr. (Exhibit L) at 23:14-22,

24:1; D. Schmid Tr. (Exhibit M) at 24:22-25; Answer (Doc. 24) at ¶ 11. In light of the

foregoing, Guarantors cannot legitimately dispute that they are responsible for

payment to Huntington of the Amount Due under the Lease Agreement and for

reimbursement in connection with the Letter of Credit.

      Moreover, under Section 7 of the Guaranty, Guarantors agreed to pay all

costs and expenses, including all court costs and legal fees and expenses,

incurred by Huntington in connection with the enforcement of the Guaranty.

Guaranty (Exhibit B) at § 7. As of the date of the Motion, Huntington has incurred

legal fees and costs of $92,283.32. Affidavit of Edward J. Kitchen (“Kitchen

Affidavit”) (Exhibit N) at ¶ 9. This amount includes sums billed by Huntington’s

counsel from April 2018 to and including July 2019, with additional amounts to

accrue thereafter. Id. at ¶ 15.

             3. As of the date of the Motion, the sums owed to Huntington have
                not been repaid by GMNY or the Guarantors.

      Huntington has made demand for payment of all outstanding sums due.

See Notice of Default dated October 2018 (Exhibit H) at p.1; Letter of Credit

Demand dated January 2019 (Exhibit S) at p.1. Despite demand, GMNY and the

Guarantors have failed and/or otherwise refused to repay the Amount Due or to

reimburse Huntington on account of the Letter of Credit. Zimmeth Affidavit at ¶¶

12, 26. The Guarantors do not contend that payments have been tendered to

Huntington since GMNY’s last payment in 2015, nor could they.

      Therefore, because: (1) GMNY has failed to make payment to Huntington

when due; (2) Guarantors unconditionally guaranteed payment of the amounts


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more fully described in Subsections 1 and 2 above; and (3) said amounts remain

due as of the date of the Motion, this Court should grant summary judgment in

Huntington’s favor and against the Guarantors in the principal amount of

$9,693,758.11, plus continuing interest, fees, and costs. See 136 Field Point Circle

Holding Co., LLC v. Invar Int’l Holding, Inc., 644 F. App’x 10, 12 (2d Cir. 2016)

(holding that summary judgment was properly entered against guarantor where it

guaranteed “absolutely, unconditionally and irrevocably . . . each and every one

of the liabilities and obligations” of the primary obligor); HSH Nordbank, 421 F.

App’x at 73 (granting summary judgement in favor of creditor where it

demonstrated that the guaranties at issue were unconditional, events of default

occurred, and guarantors refused to make payment after demand); Chase

Manhattan Bank, N.A. v. Lassiter, 1993 WL 54442, at *1 (S.D.N.Y. Feb. 26, 1993) (in

action to enforce personal guaranty, holding that bank was entitled to summary

judgment in its favor where, inter alia, guarantors failed to adduce creditable

evidence that amount claimed was not properly calculated and due).

      B. Guarantors have failed to raise a viable defense to nonpayment.

      The Guarantors have raised three primary defenses to Huntington’s

enforcement of the Guaranty: (1) Huntington interfered with GMNY’s right to quiet

use and enjoyment of the Sign; (2) Huntington breached its duty of good faith and

fair dealing; and (3) Huntington failed to act in a commercially reasonable

manner. Each of these putative defenses is barred as a matter of law and fact,

and summary judgment in favor of Huntington is appropriate.




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             1. The Guaranty is unconditional, and Guarantors waived all
                affirmative defenses, setoffs, and counterclaims.

      By executing the Guaranty, the Guarantors “unconditionally” guaranteed

the full and prompt payment of all amounts due from GMNY to Huntington.

Guaranty (Exhibit B) at § 2. Guarantors’ obligations to Huntington are “absolute,

continuing, unlimited, and independent, and shall not be affected, diminished, or

released for any reason whatsoever . . .” Id. Furthermore, Guarantors waived

“demand, protest or notice of any default or nonperformance by [GMNY], [and] all

affirmative defenses, offsets and counterclaims against [Huntington] . . .” Id. at §

3. Because Guarantors expressly agreed that their guarantee of GMNY’s

obligations to Huntington was absolute and without setoff of any kind, their

defenses fail as a matter of law.

      Federal courts have consistently held that, under New York law,

“unconditional guaranties . . . [may] foreclose, as a matter of law, guarantors from

asserting any defenses or counterclaims.” First New York Bank for Bus. v.

DeMarco, 130 B.R. 650, 654 (S.D.N.Y. 1991). For instance, in Compagnie

Financiere de CIC et de L'Union Europeenne v. Merrill Lynch, Pierce, Fenner &

Smith Inc., the Second Circuit Court of Appeals found that a guaranty which

defined   the   guarantor’s   obligations       as   “unconditional   and   irrevocable,

irrespective of . . . any other circumstances which might otherwise constitute a

legal or equitable discharge [or] defense” had the effect of waiving all legal or

equitable defenses raised by the defendants. 188 F.3d 31, 36 (2d. Cir. 1999). In

HSH Nordbank, the defendants/guarantors asserted various affirmative defenses

to the creditor’s guaranty enforcement action, including breach of the covenant


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of good faith and fair dealing and frustration of purpose. 421 F. App’x at 73. The

guaranty before the court contained a waiver of defenses which provided that

guarantors’ obligations were “absolute and unconditional.” Id. Consequently, the

Second Circuit concluded that defendants/guarantors failed to raise a cognizable

defense to the plaintiff’s guaranty enforcement action. Id.

      Other cases are in accord. In Citizens Fid. Bank & Tr. Co. v. Coulston Int’l

Corp., defendants “absolutely and unconditionally guarantee[d] . . . the due and

punctual payment . . . of any and all existing and future credits of every kind,

nature and character . . .” 160 A.D.2d 1110, 1111 (N.Y. App. Div. 1990).

Accordingly, the court held that defendants’ claim that the guarantees were

fraudulently induced was improper as “the guarantees are, by their terms,

absolute and unconditional and a guarantor may not vary the terms and

conditions of an integrated, unconditional guarantee based upon claimed oral

understandings . . .” Id. (internal quotations and citations omitted). Noting that

“[g]uaranties that contain language obligating the guarantor to payment without

recourse to any defenses or counterclaims . . . have been consistently upheld by

New York courts,” the court in Navarro concluded that the defendants’ defenses

were barred by the “absolute and unconditional” language of the guaranty

agreement. 25 N.Y.3d at 493 (“because defendants had assured the banks that

their guaranty to pay the loan was not subject to any defenses, they were bound

to their promise”). And in DeMarco, the district court found that unconditional




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guarantees utilized in commercial transactions are presumptively enforceable

and do not violate public policy. 130 B.R. at 654.3

      In the instant case, the Guaranty is unconditional, the obligations

thereunder are absolute, and Guarantors expressly waived any defenses to

enforcement. Although the Guarantors have ostensibly chosen to ignore the

broad waivers set forth in the Guaranty, they cannot overcome the agreement’s

clear and unambiguous language. Numerous courts previously faced with

substantially similar facts have concluded that, where the guarantors have

executed an unconditional guarantee agreement that waives all defenses, the

creditor is entitled to payment irrespective of any arguments made by the

guarantors in opposition thereto. The result here should be no different. The

Guaranty means what it says and says what it means: Guarantors’ obligations are

unconditional, and they are not entitled to raise any defense, offset, or

counterclaim. Therefore, each of the defenses asserted by the Guarantors

necessarily falls, and Huntington is entitled to judgment in its favor.


3 See also Citibank, N.A. v. Plapinger, 485 N.E.2d 974, 974 (N.Y. 1985) (holding that
language in a guaranty constituted a valid waiver where the express terms of the
guaranty stated that it was “absolute and unconditional irrespective of any lack of
validity or enforceability of the guarant[y], or any other circumstance which might
otherwise constitute a defense”); Sterling Nat’l Bank v. Biaggi, 849 N.Y.S.2d 521,
522 (N.Y. App. Div. 2008) (holding that language was “sufficiently specific to
constitute a valid waiver of the right to plead defenses” where the guaranty
provided that (1) it was “absolute and unconditional in all respects and
enforceable irrespective of any other agreements or circumstances which might
otherwise constitute a defense to the guaranty and obligation of the guarantor
under the loan agreement” and (2) “the guarantor absolutely, unconditionally and
irrevocably waives any and all rights to assert any defense, set-off, counterclaim
or cross claim of any nature whatsoever concerning the guarantor’s obligations
under the guaranty or the loan agreement”); Red Tulip, LLC v. Neiva, 842 N.Y.S.2d
1, 5 (N.Y. App. Div. 2007) (“New York courts have consistently upheld broadly
worded waiver language [as to defenses and counterclaims].”)

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            2. Guarantors lack standing to assert their defenses, as the
               complained-of conduct concerns breaches of duties owed to
               GMNY, not Guarantors.

      As a general rule, “guarantors in New York do not have standing to assert

affirmative defenses properly belonging to the obligor, the party whose

obligations the guarantors have guaranteed.” Sterling Fin. Servs. Co., v. Franklin,

259 F. App’x 367, 369 (2d Cir. 2008).4 In the present matter, the Guarantors claim

that Huntington breached GMNY’s right to quiet enjoyment of the Sign, and that

Huntington failed to act in good faith or in a commercially reasonable manner.

See Answer (Doc. 24) at ¶¶ 26-49. This complained-of conduct concerns a breach

of duties allegedly owed to GMNY under the terms of the Lease Agreement, not

obligations due to Guarantors in accordance with the Guaranty. As such, only

GMNY can assert the defenses raised in the Answer. For this reason, Guarantors’

defenses are without merit.

            3. There is no evidence that Huntington interfered with GMNY’s use
               of the Sign or otherwise acted unreasonably or in bad faith.

      Guarantors complain that Huntington interfered with GMNY’s quiet use and

enjoyment of the Sign in two ways. First, Guarantors allege that Huntington

required GMNY to change its sales agent from A2a Media, Inc. (“A2a”) to Clear

Channel. Answer (Doc. 24) at ¶ 36. Second, Guarantors maintain that Huntington


4 There is a limited exception to this rule where the guarantor exercises sole
control over the primary obligor. Id. Based upon their deposition testimony, it is
clear that the Guarantors each maintained an interest in GMNY and did not have
unilateral control over the company. Thus, the exception does not apply. See id.
(“we cannot conclude that [the guarantor] is the sole shareholder of [the primary
obligor]. Therefore, [the guarantor] lacks the requisite standing to challenge the
judgment of the District Court on the ground that [the creditor] breached its duty
to act in good faith under its contract with [the primary obligor] because such an
affirmative defense belongs to [the primary obligor], not to [the guarantor]”)

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prevented GMNY from filing suit against GKD-USA, Inc. (“GKD”), the Sign’s

manufacturer, as a result of the Sign’s repeated technical failures. Id. at ¶ 37.5

Guarantors also make broad assertions that Huntington did not act in good faith

or in a commercially reasonable manner. Id. at ¶¶ 46, 49. To defeat the Motion,

Guarantors must “raise the existence of specific facts showing that there is a

genuine issue for trial”, and the “mere existence of a scintilla of evidence” or

“conclusory statements, devoid of specifics” are insufficient. Transflo Terminal

Servs., Inc. v. Brooklyn Res. Recovery, Inc., 248 F. Supp. 3d 397, 399 (E.D.N.Y.

2017), appeal dismissed 2017 WL 5054221 (2d Cir. June 27, 2017). Here, there is

no evidence in the record to support Guarantors’ assertions regarding A2a and

Clear Channel, legal action against GKD, or any other bad faith conduct.

Accordingly, Huntington’s request for summary judgment should be granted.

      To begin, Guarantors’ position that Huntington forced GMNY to change its

sales agent is bellied by Guarantors’ own testimony and records. In late-2013,

GMNY retained Field Activate to evaluate the current marketing strategy in

connection with the Sign, including A2a’s performance as sales agent. Neff Tr.

(Exhibit K) at 143:1-25, 144:1-23; Field Activate Brand Research Immersion


5 Guarantors also make the blanket assertion that Huntington “exercised a high-
degree of control over GMNY’s day-to-day operations.” Answer (Doc. 24) at ¶ 39.
When asked to elaborate on this allegation, Mr. Neff cited only two examples: (1)
pressure to change sales agents from A2a to Clear Channel; and (2) sharing
“confidential information” with the Port Authority of New York-New Jersey and
Clear Channel relating to the cost associated with buying out the Lease
Agreement. Neff Tr. (Exhibit K) at 189:1-10; 192:19-25. As more fully described
below, the record evidence is clear that GMNY, not Huntington, made the decision
to fire A2a and retain Clear Channel. As to the alleged sharing of confidential
information, Mr. Neff conceded that Huntington is permitted to sell the Lease
Agreement if it so chooses. Id. at 189:15-17. Thus, disclosure of information
regarding the buyout price is well within Huntington’s rights.

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Program report (the “Field Activate Report”) (Exhibit O) at p.2, Among other

things, Field Activate concluded that A2a had very little visibility in the New York,

New York market and that its sales efforts were deficient. Field Activate Report

(Exhibit O) at p.13. As a result, Field Activate recommended that GMNY terminate

its relationship with A2a. Id. at p.29. Field Activate further advised GMNY that it

should develop an RFP process to help select potential firms to act as sales

agent. Id. GMNY agreed with this recommendation and proceeded to create an

RFP document as suggested. Neff Tr. (Exhibit K) at 150:3-14.

      Field Activate’s conclusions with respect to A2a were consistent with

GMNY’s own observations regarding its sales agent’s failure to perform as

expected. Since the Sign went live, A2a had consistently failed to reach its sales

projections Id. at 124:3-15. By way of example, for the sales period commencing

July 1, 2011 and ending December 31, 2011, the minimum sales goal was

$1,710,000, but actual sales totaled only $1,456,000. Letter correspondence from

GMNY to A2a dated January 10, 2012 (Exhibit P) at p.1. GMNY was

understandably dissatisfied with A2a’s sales efforts, and urged A2a to institute

corrective measures. Id. When A2a failed to meaningfully increase sales figures,

GMNY elected to convert A2a to a non-exclusive sales agent. Letter

correspondence from GMNY to A2a dated June 26, 2012 (Exhibit Q) at p1.

Notwithstanding, A2a continued to underperform.

       After the RPF process began, GMNY received proposals from various ad

agencies, including Clear Channel, A2a, Big Outdoor, and Radiant Outdoor. Id. at

152:9-15. Ultimately, Clear Channel and A2a were invited to make presentations to



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GMNY. Id. at 157:7-15. The decision to invite Clear Channel and A2a to present

was made by GMNY with advice from Field Activate; Huntington was not

involved. Id. Most importantly, the final decision to terminate A2a and retain Clear

Channel was made by GMNY’s principals, and them alone:

      Q:    Okay. And among the representatives of Garage-Media, did
      each of you choose to pick Clear Channel?

      A:     Given the -- the answer is, yes; and we got on the bandwagon
      of the program. I mean, we understood we had to make a change. Of
      those options, we felt Clear Channel was the best option of the
      competitive set if we are going to leave A2a behind.

Id. at 159:6-12 (emphasis added). On or about March 23, 2014, GMNY terminated

its agreement with A2a. Letter correspondence from GMNY to A2a dated March

23, 2014 (Exhibit R) at p.1. In GMNY’s own words, A2a was terminated not

because Huntington required it, but because A2a had utterly “failed to build the

sales team or achieve the annual sales objectives both projected by [A2a] and

required to support this project.” Id. Thereafter, GMNY proceeded to formalize its

new partnership with Clear Channel. Huntington did not participate in the

negotiation of GMNY’s agreement with Clear Channel. Neff Tr. 160:3-9.

      Likewise, Guarantors’ assertion that Huntington prevented GMNY from

instituting a lawsuit against GKD is contradicted by the record. Mr. Neff testified

during his deposition that GMNY “never” considered a lawsuit against GKD. Id. at

70:6-8, 22-23. Mr. Neff offered testimony both in his individual capacity and as the

designee of GMNY pursuant to Fed. R. Civ. P. 30(b)(6). Id. at 8:2-9. As such, his

testimony is binding on GMNY. See Sabre v. First Dominion Capital, LLC, 2001

WL 1590544, at *1 (S.D.N.Y. Dec. 12, 2001) (“A 30(b)(6) witness testifies as a



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representative of the entity, his answers bind the entity and he is responsible for

providing all the relevant information known or reasonably available to the

entity.”). Because GMNY never intended to sue GKD in the first place,

Guarantors’ claim that Huntington prevented suit from being filed is nonsensical.

      Finally, Guarantors’ contention that Huntington breached its duty of good

faith and/or that Huntington failed to act in a commercially reasonable manner is

wholly unsupported. A party acts in bad faith where it displays a lack of diligence,

willfully renders imperfect performance, or interferes with or fails to cooperate

with the other party’s performance. RESTATEMENT (SECOND)       OF   CONTRACTS § 205

cmts. a, d. There is no evidence whatsoever that Huntington engaged in such

conduct. To the contrary, Mr. Neff testified that John Zimmeth, on behalf of

Huntington, “was doing the right thing for [Huntington]. I think he was trying his

best to maneuver the situation, and he was sincerely looking at our interest as

well.” Neff Tr. (Exhibit K) at 186:3-6. In addition, “no obligation of good faith can

be implied which would be inconsistent with the other terms of the contractual

relationship.” Banco Portugues do Atlantico v. Asland, S.A., 745 F. Supp. 962, 972

(S.D.N.Y. 1990) (internal quotations and citations omitted). In other words, it is a

not a violation of the duty of good faith (or any similar duty) for Huntington to

exercise its contractual right to payment under the Lease Agreement or the

Guaranty. In sum, Guarantors have failed to adduce sufficient evidence to prove

their defenses. Summary judgment in favor of Huntington is therefore warranted.




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   IV.      CONCLUSION

         For the foregoing reasons, Plaintiff Huntington Technology Finance, Inc.

f/k/a Macquarie Equipment Finance, Inc. f/k/a Macquarie Equipment Finance, LLC

respectfully requests that this Court grant summary judgment in its favor and

against Defendants Garett Alan Neff a/k/a Gary Neff, John Mark Schmid, and

David Karl Schmid.

                                             Respectfully Submitted,

Date: July 26, 2019                          METZ LEWIS BRODMAN MUST
                                             O’KEEFE LLC

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                            CERTIFICATE OF SERVICE

      The undersigned hereby certifies that a true and correct copy of the

foregoing Brief in Support of Plaintiff’s Motion to for Summary Judgment was

served upon the following counsel of record this 26th day of July, 2019 via the

Court’s Electronic Filing System:


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